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                                                            Certification
Mailing ID:           260469
Account:          ruhi.reimer@gmail.com (Resident)

Return Address:
Resident
21630 Goodwin Ct
Ashburn, VA 20148
Accepted:         5/17/22, 11:43 AM (EDT-04:00)

Recipient(s):
1. RTW Retailwinds, Inc.
Attn: Customer Service
330 W 34th St
New York, NY 10001-2406
Service: USPS Certified, Electronic Return Receipt, #10 Envelope
Production Status: Mailed - 5/17/22, 11:43 AM (EDT-04:00)
USPS Tracking ID: 92148901324734001620046895
USPS Delivery Status: Delivered, To Original Sender - 5/26/22, 1:21 PM - ASHBURN, VA

Enclosed Content:
Document 1 (1 Page)
Total: 1 File with 1 Page


The information herein is certified by Docsmit.com, Inc. ("Docsmit") to be true and accurate as of the date and time this report was generated.
All of the records relating to this communication were made at times proximate to those indicated. Docsmit has not permitted any of the parties
hereto to modify the records.

Mail tracking information is from the United States Postal Service. Times therein are believed to be expressed in the time zone local to those
events. DDS Delivery tracking times are in the time zone local to those events. All other times (unless otherwise indicated) are expressed in
Greenwich Mean Time which may not be the local time of sender or recipient.




Generated 5/30/22, 1:27 PM (EDT-04:00)                            Page 1/1                                     EXHIBIT B-2
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 RTW Retailwinds, Inc.
 Attn: Customer Service
 330 West 34th St.
 New York, NY 10001


 Ruhi Reimer
 21630 Goodwin Ct.
 Ashburn, VA 20148


 In re: Calls/Texts


                                                                                          5/17/2022


 To whom it may concern:


 Please be advised that I am hereby revoking consent, and no longer wish to receive telephonic
 communications from your company, including but not limited to any telephone calls, any text
 messages, pre-recorded calls, artificial voice calls, calls using an auto-dialer, or telemarketing
 calls of any kind to my 703-477-3122 number.


 Furthermore I request a copy of your Do Not Call Policy, which you are required to have
 available upon request, immediately upon receipt of this letter to my return address listed above.


 Thank you for directing the appropriate attention to this matter.


 Sincerely,




 Ruhi Reimer




                                                                                   EXHIBIT B-2
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May 30, 2022

Dear C2M LLC:

The following is in response to your request for proof of delivery on your item with the tracking number:
9214 8901 3247 3400 1620 0468 95.

Item Details

Status:                                                 Delivered, To Original Sender
Status Date / Time:                                     May 26, 2022, 01:21 p.m.
Location:                                               ASHBURN, VA 20148
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         RTW Retailwinds Inc
Reference(s):                                           532264, 162004689
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




                                                                                                        EXHIBIT B-2
